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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

AMIR MOHAMMADI,                              )       Civil Action
                                             )
       Plaintiff,                            )       No. 2:18-CV-01707
               vs.                           )
                                             )       Judge Cathy Bissoon
SLIPPERY ROCK UNIVERSITY OF                  )
PENNYSLVANIA, THE                            )
PENNSYLVANIA STATE SYSTEM                    )
OF HIGHER EDUCATION and                      )
ROBERT TAYLOR                                )
                                             )
       Defendants.                           )


                                 REPORT OF MEDIATION

       A Mediation session was held in the above-captioned matter on June 17, 2019.

The case (please check one):

   has resolved.

   has resolved in part (see below).

   has not yet resolved.

The parties request that a follow up conference with the Court should be scheduled within
_________ days.

If the case has resolved in part, please indicate the part that has resolved and/or the
claim(s)/parties that remain.




Date: June 19, 2019                    Signature of Neutral: /s/ Maria Greco Danaher

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